                                                                                                                          ORDERED ACCORDINGLY.


                                                                                                                           Dated: August 27, 2014

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                                                        3                                                                 George B. Nielsen, Bankruptcy Judge
                                                                                                                          _________________________________
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                                                        5
                                                                                     In the United States Bankruptcy Court
                                                        6

                                                        7                                    For the District of Arizona
                                                        8    In re:                               )                 In Proceedings Under Chapter 7
                                                                                                  )
                                                        9    BEVERLEY BUCKLEY                     )                 Adversary No. 13-ap-950-GBN
                                                                                                  )
                                                      10                       Debtor.            )                 CASE No. 12-bk-19495-GBN
                                                                                                  )
                                                      11                                          )
ELLETT LAW OFFICES, P.C.




                                                             ____________________________________ )
                                                      12                                          )
                  2999 North 44th Street, Suite 330




                                                             QUINTON BUCKLEY, PERSONAL REP- )
                     Phoenix, Arizona 85018




                                                      13     RESENTATIVE OF THE PROBATE ES-       )
                         (602) 235-9510




                                                             TATE OF BEVERLEY BUCKLEY,            )                        JUDGMENT IN FAVOR OF
                                                      14                                          )                             PLAINTIFF
                                                                               Plaintiff,         )
                                                      15                                          )
                                                             v.                                   )
                                                      16                                          )
                                                                                                  )
                                                      17     ROY ZEAGLER                          )
                                                                                                  )
                                                      18                       Defendant.         )
                                                                                                  )
                                                      19                                          )

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                                                                      Before the Court is Plaintiff’s Motion for Summary Judgment on Erroneous Recordation,
                                                      21
                                                             filed on June 26th, 2014. The Defendant has filed a Response and the Court conducted Oral
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                                                             Argument on August 13th, 2014. The Court placed its decision on the record on August 13th, 2014
                                                      23
                                                             and anyone wishing a copy may obtain a transcript of that proceeding.
                                                      24
                                                                      The Plaintiff and Defendant dispute whether the Defendant has a lien against the cash
                                                      25
                                                             proceeds from the sale of the Debtor’s homestead. Pursuant to this Court’s Order of August 21st,
                                                      26
                                                             2013 in case 12-bk-19495, the sale’s cash proceeds are held in the Trust Account of Ellett Law
                                                      27
                                                             Offices, P.C. pending further Order of this Court.
                                                      28
                                                                      Based on the entire record before the Court and for the reasons set forth previously on the

                                                             record, it is Ordered granting summary judgment in favor of plaintiff Quinton Buckley and
                                                      Case 2:13-ap-00950-GBN Doc 53 Filed 08/27/14 Entered 08/27/14 16:25:29 Desc
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                                                       1    granting Declaratory Judgment that Mr. Zeagler does not hold a lien against the homestead

                                                       2    proceeds held in the Trust Account of Ellett Law Offices, P.C.

                                                       3           IT IS FURTHER ORDERED authorizing the release of the homestead proceeds from the

                                                       4    Trust Account of Ellett Law Offices, P.C. after the passage of fourteen (14) days from the entry

                                                       5    of this Order unless, prior to that time, a stay of this Order has been entered by a Court of

                                                       6    competent jurisdiction.

                                                       7                                                DATED AND SIGNED ABOVE.

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ELLETT LAW OFFICES, P.C.




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                  2999 North 44th Street, Suite 330
                     Phoenix, Arizona 85018




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                         (602) 235-9510




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